 

Case 8:22-cv-03284-PX Document 19 Filed 02/21/23 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

Securities and Exchange Commission 7

 

Plaintiff,
22 Civ. 3284 (PX)

vy. Case No.

 

Nader Pourhassan and Kazem Kazempour

 

Defendant. +

REQUEST FOR ENTRY OF APPEARANCE
ON BEHALF OF A FEDERAL GOVERNMENT AGENCY

 

ake Securities and Exchange Commission
Please enter my appearance in this case on behalf of :

 

I have been admitted to practice law in the following jurisdictions (states or the District
of Columbia):

 

 

State Court Date of Admission
New York 07/16/2008
New Jersey 12/26/2007

 

 

 

 

I am an active member in good standing of the bars of each of the jurisdictions listed

above.

I understand that this entry of appearance is for this case only and does not constitute

formal admission to the bar of this Court.

I understand that I must register to use the electronic filing system and will be issued a

login and password for use in this case only.

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I understand that I must immediately notify this Court of any change in my address,

phone number, and email address and that if I fail to do so, my appearance in this case will be

 

 

terminated,
02/08/2023 aa gees
Date ignattre

hevon a Bar No. 4604443

 

Printed name and bar number

100 Pear! Street, Suite 20-100, New York, NY 10004

 

; Address
: WalkerCH @sec.gov
q Email address

(212) 336-0090

Telephone number

 

 

 

Fax number

 

If you are not a member of this Court’s bar, email your completed form to
MDD_AttyAdmissions@mdd.uscourts.gov. Otherwise, please enter your own appearance in this
case in CM/ECF using the event Notice of Appearance.

 

 

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